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                           **NOT FOR PRINTED PUBLICATION**

                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §
                                                  §
  v.                                              § CASE NUMBER 9:20-CR-00063-9
                                                  §
                                                  §
  EDGAR REYES                                     §
                                                  §

          ORDER ACCEPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

         The court referred this matter to the Honorable Christine L. Stetson, United States

  Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

  Criminal Procedure. Judge Stetson conducted a hearing in the form and manner prescribed by

  Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on

  Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

  the court accept the Defendant’s guilty plea. She further recommended that the court adjudge the

  Defendant guilty on Count One of the Indictment filed against the Defendant.

         The parties have not objected to the magistrate judge’s findings. The court ORDERS

  that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

  Judge are ACCEPTED. The court accepts the Defendant’s plea but defers acceptance of the

  plea agreement until after review of the presentence report.          The court ORDERS the

  Defendant’s attorney to read and discuss the presentence report with the Defendant and file any

  objections to the report BEFORE the date of the sentencing hearing.
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         It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

  magistrate judge’s findings and recommendation, the Defendant, Edgar Reyes, is adjudged guilty

  as to Count One of the Indictment charging a violation of 21 U.S.C. § 846 - Conspiracy to

  Possess with Intent to Manufacture and Distribute Methamphetamine.


         SIGNED at Beaumont, Texas, this 12th day of November, 2021.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
